Case 6:21-cv-01660-ACC-DCI Document 27 Filed 06/30/22 Page 1 of 3 PageID 582




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF FLORIDA



  LA ROSA FRANCHISING, LLC and

  LA ROSA REALTY, LLC,                                   CASE NO:6:21-CV-1660-ACC

  Plaintiffs,

  v.

  ANA IVELISSE MORALES and

  LA ROSA REALTY PUERTO RICO, PSC

  Defendants.

  _________________________________________/




                   UNOPPOSED MOTION FOR EXTENSION OF TIME
                              AND MEMORANDUM OF LAW

       Pursuant to Local Rule 6(b) of the Federal Rules of Civil Procedure, Plaintiffs move

  this Court for an order to extend the time to file a response to Defendants’ Motion to Set

  Aside Clerk’s Default and to Quash Service until July 11, 2022. In support thereof,

  Plaintiffs state:

       1.   Defendants’ Motion was filed on June 17, 2022.

       2. Pursuant to the Local Rules, a Response to the Defendants’ Motion is due on or

            before July 1, 2022.

       3. Since the filing of the Defendants’ Motion, Plaintiffs primary counsel, Vincent

            Lynch, has contracted Covid-19 and is out of work due to his illness.
Case 6:21-cv-01660-ACC-DCI Document 27 Filed 06/30/22 Page 2 of 3 PageID 583




     4. Rule 6(b), Federal Rules of Civil Procedure permits the Court to extend the time to

         file a response or other pleadings, for good cause shown. The undersigned believes

         that good cause has been shown due to counsel’s illness.

                                    3.01(g) Certification

         On June 29, 2022, James M. Slater, Esq., authorized Plaintiffs’ counsel to represent

  to the Court that the Defendants do not oppose the relief requested herein.

         Wherefore, Plaintiffs request this Court to extend the time to file a response to the

  Motion to Set Aside Clerk’s Default and to Quash Service until July 11, 2022.

         Respectfully submitted this 30th day of June 2022.



                                               ELP Global, PLLC

                                               Vincent B. Lynch
                                               Florida Bar No. 0917801
                                               7901 Kingspointe Parkway, Suite 8
                                               Orlando, Florida 32819
                                               Phone: (813) 727-4490
                                               Email: v.lynch@elpglobal.com

                                               Carlos J. Bonilla
                                               FL BAR #0577818
                                               carlos@elpglobal.com
                                               ELP Global, PLLC
                                               7901 Kingspointe Parkway, Suite 8
                                               Orlando, Florida 32819
                                               Attorneys for Plaintiffs
Case 6:21-cv-01660-ACC-DCI Document 27 Filed 06/30/22 Page 3 of 3 PageID 584




                              CERTIFICATE OF SERVICE
         On June 30, 2022, the foregoing was filed with the Clerk of the Court by using the
  CM/ECF system which will send a notice of electronic filing to all counsel of record who
  have appeared in this case to date. The foregoing was served registered mail to the last
  known address of each Defendant on June 6, 2022.



                                              ELP Global, PLLC

                                              Vincent B. Lynch
                                              Florida Bar No. 0917801
                                              7901 Kingspointe Parkway, Suite 8
                                              Orlando, Florida 32819
                                              Phone: (813) 727-4490
                                              Email: v.lynch@elpglobal.com

                                              Carlos J. Bonilla
                                              FL BAR #0577818
                                              carlos@elpglobal.com
                                              ELP Global, PLLC
                                              7901 Kingspointe Parkway, Suite 8
                                              Orlando, Florida 32819
                                              Attorneys for Plaintiffs
